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                                   5                          IN THE UNITED STATES DISTRICT COURT

                                   6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   8    BLIZZARD ENTERTAINMENT, INC.,                  Case No. 15-cv-04084-CRB
                                        et al.,
                                   9
                                                     Plaintiffs,                       ORDER
                                  10
                                               v.                                         (1) GRANTING IN PART AND
                                  11                                                          DENYING IN PART LILITH’S
                                        LILITH GAMES (SHANGHAI) CO.                           MOTION TO DISMISS, WITH
                                  12    LTD., et al.,                                         LEAVE TO AMEND
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                                  13                 Defendants.                          (2) DENYING UCOOL
                                                                                              DEFENDANTS’ MOTION TO
                                  14                                                          DISMISS
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                                              Much like Plaintiffs’ popular games, this copyright case has turned into quite the
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                                       saga. The latest expansion pack, Plaintiffs’ Second Amended Complaint (“SAC”), adds
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                                       allegations against Defendant Lilith’s game Soul Hunters, as well as several parties related
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                                       to Defendant uCool: David Guo, Huwa IP Holdings Ltd. (“HIPH”), and Huwa, Inc.
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                                       (collectively, “the uCool Defendants”). Lilith and the uCool Defendants move separately
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                                       to dismiss parts of the SAC. Lilith moves to dismiss all allegations against its game Soul
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                                       Hunters. See Lilith’s MTD (dkt. 216). The uCool Defendants move to dismiss some of
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                                       the allegations against their game Heroes Charge—namely, those relating to Diablo III,
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                                       Starcraft II, and Heroes of the Storm. See uCool’s MTD (dkt. 228). For the reasons
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                                       discussed below, Lilith’s motion is GRANTED IN PART and DENIED IN PART, with
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                                       leave to amend. uCool’s motion is DENIED.
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                                       I.     BACKGROUND
                                   1
                                              A.     Factual Background
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                                              According to the SAC, Plaintiff Blizzard is a game developer and copyright owner
                                   3
                                       of some of the most popular computer games of the past decade, including Warcraft III and
                                   4
                                       World of Warcraft (“the Warcraft games”), Starcraft II (“Starcraft”), Diablo III (“Diablo”),
                                   5
                                       Hearthstone, and Heroes of the Storm. SAC (dkt. 210) ¶ 19. Blizzard—along with its co-
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                                       Plaintiff Valve—also owns copyrights in hundreds of versions of the user-created “mod”
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                                       to Warcraft III known as Defense of the Ancients (“DotA”). Id. ¶ 34. Additionally, Valve
                                   8
                                       owns copyrights in a stand-alone game modeled on DotA called Dota 2. Id. ¶ 35.
                                   9
                                              The Warcraft games—as well as DotA and Dota 2—are strategy and role-playing
                                  10
                                       games set in the same fantastical world, Azeroth, which is populated by all sorts of
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                                       “unusual and distinctive” mythical creatures, including “Night Elves,” “Tauren,” and
                                  12
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                                       “Naga.” Id. ¶¶ 22–25. Hearthstone, a digital playing-card game, incorporates characters
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                                  13
                                       and images from the Warcraft games and related products. Id. ¶ 19.
                                  14
                                              Starcraft and Diablo are different and separate franchises from the Warcraft games,
                                  15
                                       taking place in their own separate universes. Starcraft is set in outer space and features a
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                                       team of space soldiers called “Terran Marines.” Id. ¶ 29. Diablo takes players through a
                                  17
                                       ghoulish world ruled by characters such as “King Leoric, the Skeleton King.” Id.
                                  18
                                              Heroes of the Storm, an online multiplayer game, brings together the best-known
                                  19
                                       characters from the Warcraft games, Starcraft, and Diablo. Id. ¶ 19. Although Heroes of
                                  20
                                       the Storm was officially released in final form to the public in June 2015, the game was
                                  21
                                       first made available to the public over a year earlier, in March 2014. Id.; see also FAC
                                  22
                                       (dkt. 36) ¶ 11.
                                  23
                                              Defendant Lilith develops mobile games and is the developer, owner, and
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                                       distributor of the games Dota Legends and Dot Arena (both names are allegedly references
                                  25
                                       to DotA and Dota 2). SAC ¶¶ 40–41. Dota Legends and Dot Arena are “substantively
                                  26
                                       identical.” Id. ¶ 42. Lilith is also the creator and distributor of Soul Hunters, a “reskin” or
                                  27
                                       “reimplementation” of Dota Legends. Id. ¶ 43. In other words, Soul Hunters is “the same
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                                                                                      2
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                                   1   basic game” as Dota Legends but with “some changes to some of the game’s artwork” and
                                   2   “some additional, new, or different” hero characters. Id.
                                   3          The uCool Defendants include several entities—uCool, Huwa, and HIPH—as well
                                   4   as individual David Guo. Id. ¶¶ 12–16. Together, the uCool Defendants developed,
                                   5   marketed, and distributed the mobile game Heroes Charge, with David Guo personally
                                   6   directing and supervising these activities. Id. ¶¶ 46–47. Heroes Charge was the subject of
                                   7   a separate copyright suit between Lilith and uCool, in which Judge Samuel Conti noted
                                   8   “striking similarities between . . . protected elements” of Dota Legends and Heroes
                                   9   Charge. Lilith Games (Shanghai) Co. v. uCool, Inc., No. 15-1267, 2015 WL 5591612, at
                                  10   *9 (N.D. Cal. Sep. 23, 2015); see also SAC ¶ 45.
                                  11          B.     Procedural Background
                                  12          Two-and-a-half years after the commencement of this case, we are back where we
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                                  13   started (perhaps a little wiser but certainly no younger). Along the way, several notable
                                  14   things have happened.
                                  15          In December 2015, Plaintiffs’ original complaint was dismissed, with leave to
                                  16   amend, because Plaintiffs (1) failed to plausibly plead any copyrightable subject matter
                                  17   and (2) made only general allegations of infringement without providing specific,
                                  18   representative acts of infringement. See First Dismissal Order (dkt. 35) at 9–10. Plaintiffs
                                  19   subsequently filed a First Amended Complaint (“FAC”), which not only pled that
                                  20   constituent elements of Plaintiffs’ works, including certain characters, were copyrightable,
                                  21   but also included a set of exhibits with specific, representative examples of alleged
                                  22   infringements. See FAC ¶¶ 14–29, 42–54, Exs. A–D. uCool moved to dismiss the FAC,
                                  23   but at a hearing on April 8, 2016, the Court denied uCool’s motion, noting that the FAC
                                  24   appeared to have “successfully address[ed]” the shortcomings of the original complaint.
                                  25   Trans. of 4/8/16 Hear’g (dkt. 76) at 2. uCool then moved for partial summary judgment on
                                  26   the issue of Valve’s ownership of copyrights in DotA, which was denied. See PSJ Order
                                  27   (dkt. 162).
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                                   1          Plaintiffs have now filed a Second Amended Complaint, which differs from their
                                   2   FAC in two material respects. First, Plaintiffs have significantly expanded their references
                                   3   to Lilith’s game Soul Hunters and made clear that their allegations of infringement include
                                   4   Soul Hunters. Compare SAC ¶¶ 39–43 with FAC ¶¶ 31–32. Second, Plaintiffs have added
                                   5   other uCool defendants—Huwa, HIPH, and David Guo—whose involvement in the
                                   6   alleged infringement was uncovered during discovery. Compare SAC ¶¶ 45–49, 80–111
                                   7   with FAC ¶¶ 34–35, 66–74. Aside from these two differences, the SAC, like the FAC,
                                   8   alleges that Defendants used in their games specific elements derived from—and
                                   9   substantially similar to—elements contained in Plaintiffs’ games, including (1) visual
                                  10   depictions of, and skills given to, individual characters, (2) in-game icon artwork,
                                  11   (3) visual depictions of locations and landmarks, (4) musical compositions, and (5) the
                                  12   overall look and feel. Compare SAC ¶¶ 50–68 with FAC ¶¶ 36–54. The SAC also
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                                  13   includes exhibits with representative examples of alleged infringements, very similar to the
                                  14   exhibits attached to the FAC. Compare SAC Exs. A–D with FAC Exs. A–D.
                                  15          Both Lilith and the uCool Defendants move to dismiss parts of the SAC, arguing
                                  16   primarily that Plaintiffs have not plausibly alleged that Defendants copied and infringed
                                  17   Plaintiffs’ games. See Lilith’s MTD; uCool’s MTD.
                                  18

                                  19   II.    LEGAL STANDARDS
                                  20          A.     Motion to Dismiss
                                  21          A complaint must contain “a short and plain statement of the claim showing that the
                                  22   pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Accordingly, pursuant to Federal
                                  23   Rule of Civil Procedure 12(b)(6), a defendant may move to dismiss an action if the
                                  24   complaint fails to allege “sufficient factual matter, accepted as true, to ‘state a claim to
                                  25   relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
                                  26   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This means that, though a
                                  27   complaint need not contain “detailed factual allegations,” it must provide more than “a
                                  28   formulaic recitation of the elements of a cause of action,” so as to give the defendant “fair
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                                   1   notice of what the . . . claim is and the grounds upon which it rests.” Twombly, 550 U.S.
                                   2   at 555; see also Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011) (“[A]llegations in a
                                   3   complaint . . . may not simply recite the elements of a cause of action, but must contain
                                   4   sufficient allegations of underlying facts to give fair notice and to enable the opposing
                                   5   party to defend itself effectively.”). For purposes of ruling on a Rule 12(b)(6) motion, the
                                   6   Court “accept[s] factual allegations in the complaint as true and construe[s] the pleadings
                                   7   in the light most favorable to the nonmoving party.” Manzarek v. St. Paul Fire & Marine
                                   8   Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).
                                   9          B.     Copyright Infringement
                                  10          To state a claim of copyright infringement, a plaintiff must allege (1) ownership of
                                  11   a valid copyright, and (2) illicit copying of constituent elements of the work that are
                                  12   original. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Here,
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                                  13   Defendants’ motions largely focus on the second prong. This second prong itself requires
                                  14   showing two things: (1) that portions of the plaintiff’s work were in fact copied and
                                  15   (2) that the copying amounts to infringement, that is, “unlawful appropriation.” Arnstein
                                  16   v. Porter, 154 F.2d 464, 468 (2d Cir. 1946); see also Rentmeester v. Nike, Inc., — F.3d —,
                                  17   2018 WL 1055846, at *3 (9th Cir. Feb. 27, 2018). Absent direct evidence of copying,
                                  18   factual copying may be established circumstantially by showing that the infringer had
                                  19   access to the plaintiff’s copyrighted work and that there exist similarities between the two
                                  20   works that are “probative of copying.” Jorgensen v. Epic/Sony Records, 351 F.3d 46, 51
                                  21   (2d Cir. 2003); Laureyssens v. Idea Group, Inc., 964 F.2d 131, 139–40 (2d Cir. 1992); see
                                  22   also Rentmeester, 2018 WL 1055846, at *3. Once factual copying has been established,
                                  23   infringement is determined by comparing the works for “substantial similarity” of
                                  24   protected elements. Laureyssens, 964 F.2d at 139–40; see also Rentmeester, 2018 WL
                                  25   1055846, at *3.
                                  26          Substantial similarity entails a two-part analysis consisting of an “intrinsic” test and
                                  27   an “extrinsic” test. Kouf v. Walt Disney Pictures & Television, 16 F.3d 1042, 1045 (9th
                                  28   Cir. 1994). The “intrinsic” test asks “‘whether the ordinary, reasonable audience’ would
                                                                                      5
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                                   1   find the works substantially similar in the ‘total concept and feel of the works’”—a
                                   2   question that must be left to the finder of fact. Cavalier v. Random House, Inc., 297 F.3d
                                   3   815, 822 (9th Cir. 2002) (quoting Kouf, 16 F.3d at 1045); see also Swirsky v. Carey, 376
                                   4   F.3d 841, 845 (9th Cir. 2004). The “extrinsic” test, meanwhile, is “an objective
                                   5   comparison of specific expressive elements.” Cavalier, 297 F.3d at 822. This involves
                                   6   breaking works down into their constituent elements, distinguishing between protected and
                                   7   unprotected material, and comparing protected elements for proof of copying as measured
                                   8   by “substantial similarity.” See Swirsky, 376 F.3d at 845; see also Apple Comput., Inc. v.
                                   9   Microsoft Corp., 35 F.3d 1435, 1443 (9th Cir. 1994).
                                  10          “[W]hen the copyrighted work and the alleged infringement are both before the
                                  11   court, capable of examination and comparison, non-infringement can be determined on a
                                  12   motion to dismiss” on the ground that the works are not substantially similar. Christianson
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                                  13   v. West Pub. Co., 149 F.2d 202, 203 (9th Cir. 1945). Here, however, Plaintiffs have
                                  14   offered only representative examples of the ways in which Defendants’ games are similar
                                  15   to their own, not entire works capable of examination and comparison. Accordingly, the
                                  16   question before the Court is whether Plaintiffs have plausibly alleged substantial similarity
                                  17   and put Defendants on fair notice of their claims. See Baca, 652 F.3d at 1216.
                                  18

                                  19   III.   DISCUSSION
                                  20          A.     Lilith’s Motion to Dismiss
                                  21          Lilith moves to dismiss the allegations against its game Soul Hunters on the
                                  22   grounds that Plaintiffs have neither (1) specifically identified the infringed works nor
                                  23   (2) plausibly alleged substantial similarity between each of their games and Soul Hunters,
                                  24   and have therefore failed to state a claim of copyright infringement with respect to Soul
                                  25   Hunters.
                                  26          On the issue of identifying the allegedly infringed works, Lilith’s argument fails.
                                  27   Lilith argues that Plaintiffs have not specifically identified which works Soul Hunters
                                  28   infringes, alleging only generally that Soul Hunters infringes “the Blizzard Works” and
                                                                                     6
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                                   1   “DotA.” See Lilith’s MTD at 6–7, 10–11. Lilith’s co-defendant, however, previously
                                   2   made a similar argument, contending that there was “no way . . . to determine from the
                                   3   face of the Complaint what works are at issue.” Dkt. 20 at 8. This argument was rejected
                                   4   because Plaintiffs’ original complaint adequately “identified numerous allegedly infringed
                                   5   copyrights and their respective owners.” See First Dismissal Order at 6. Plaintiffs’ SAC is
                                   6   no less clear in identifying what works are at issue. See SAC ¶¶ 19–21, 30–35,
                                   7   Schedule A.
                                   8           Identifying the works at issue, though, is only the first step. To survive dismissal of
                                   9   their claims, Plaintiffs must allege facts that plausibly show infringement of their works.
                                  10   The meat of Lilith’s motion argues that Plaintiffs fail to meet this standard. In particular,
                                  11   Lilith argues that Plaintiffs do not sufficiently allege which elements of their games are
                                  12   copyrightable, and which expression(s) from Soul Hunters are substantially similar to any
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                                  13   protectable elements. See Lilith’s MTD at 7–10, 11–14. Although Lilith’s argument is
                                  14   largely unpersuasive, there is merit to its arguments regarding Starcraft and Diablo.
                                  15           The Ninth Circuit’s “extrinsic” test for substantial similarity involves three steps:
                                  16   identifying the sources of alleged similarity, distinguishing between protected and
                                  17   unprotected material, and comparing protected elements for substantial similarity. See
                                  18   Swirsky, 376 F.3d at 845; Apple, 35 F.3d at 1443. Here, Plaintiffs’ SAC clearly identifies
                                  19   the sources of alleged similarity, including (1) visual depictions of individual characters, as
                                  20   well as skills and abilities given to them, (2) in-game icon artwork, (3) visual depictions of
                                  21   locations and landmarks, (4) musical compositions, and (5) the overall look and feel. SAC
                                  22   ¶ 52.
                                  23           Plaintiffs’ SAC also sufficiently alleges that the sources of alleged similarity
                                  24   represent copyrightable subject matter. This step is important because not all elements of a
                                  25   copyrighted work are protectable. Unprotected elements include ideas, expressions that
                                  26   are indistinguishable from the underlying ideas (merger doctrine), standard or stock
                                  27   elements (scènes à faire), and facts. See Apple, 35 F.3d at 1444; see also Gorski, 2014 WL
                                  28   3533324, at *4. In particular, a character is protectable only if it (1) generally has
                                                                                      7
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                                   1   “physical as well as conceptual qualities,” (2) is “sufficiently delineated to be recognizable
                                   2   as the same character whenever it appears,” and (3) is “especially distinctive and contain[s]
                                   3   some unique elements of expression.” DC Comics v. Towle, 802 F.3d 1012, 1021 (9th
                                   4   Cir. 2015) (citations and internal quotation marks omitted). Plaintiffs’ SAC provides
                                   5   several representative examples of plausibly copyrightable characters, depictions of
                                   6   landmarks, in-game artwork, and musical compositions. See SAC ¶¶ 23–28, 29, 36, 63–
                                   7   67. For example, the SAC alleges that “Illidan Stormrage” is a “Night-Elf-turned-demon”
                                   8   who is “usually depicted as a muscular purple-skinned night elf with long black hair and
                                   9   intricate tattoos (arcane and tribal in appearance) adorning his torso and arms.” SAC
                                  10   ¶ 25(b). He “wields two long, distinct, bladed weapons,” and when in his “demon form,”
                                  11   has “two long, curved horns growing from his head, and two long, frayed, bat-like wings.”
                                  12   Id. Similarly, the SAC describes the “Dark Portal,” a magical gate in World of Warcraft
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                                  13   that features “a dragon head and claws” and “transports characters to the world of
                                  14   ‘Outland.’” SAC ¶ 26. These types of representative examples are enough at the pleading
                                  15   stage. See Perfect 10, Inc. v. Cybernet Ventures, Inc., 167 F. Supp. 2d 1114, 1120 (C.D.
                                  16   Cal. 2001) (“Copyright claims need not be pled with particularity.”); cf. First Dismissal
                                  17   Order at 9–10 (holding that a complaint need only allege representative acts of
                                  18   infringement, and dismissing Plaintiffs’ claims for failure to provide such examples).
                                  19          Finally, the SAC compares the alleged protected elements in Plaintiffs’ games to
                                  20   elements of Soul Hunters. See SAC Exs. A–B. For example, the SAC compares a
                                  21   depiction of “Illidan Stormrage” in World of Warcraft to a Facebook ad for Soul Hunters.
                                  22   See SAC Ex. A at 7. The ad shows a character that—like Illidan—carries two long, bladed
                                  23   weapons and has two curved horns growing from its head:
                                  24

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                                   9   Lilith argues that these “comparison[s] of bare images” are not enough because they fail to
                                  10   detail the protected elements of each character and compare them specifically to those in
                                  11   Soul Hunters. See Lilith’s MTD at 9–14; Lilith’s Reply (dkt. 237) at 8–9. But Lilith’s
                                  12   proposed standard is not the pleading standard. Rule 8 requires not “detailed factual
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                                  13   allegations” but rather only enough factual matter to show that a claim is “plausible on its
                                  14   face” and to give the defendant “fair notice.” Twombly, 550 U.S. at 555, 570. Here, with
                                  15   respect to most of Plaintiffs’ games, Lilith cannot reasonably argue that the SAC and its
                                  16   exhibits fail to provide fair notice or enough factual matter showing that Plaintiffs’ claims
                                  17   are plausible on their face. In particular, the SAC and its exhibits allege several
                                  18   representative examples of Soul Hunters infringing the Warcraft games, DotA, and Dota 2.
                                  19   See SAC Exs. A and B. And though Lilith suggests that Plaintiffs provide no specific
                                  20   allegations of Soul Hunters infringing Hearthstone and Heroes of the Storm, see Lilith’s
                                  21   MTD at 8, Plaintiffs in fact do provide representative examples of infringement with
                                  22   respect to both games. See SAC Ex. A at 4 and 9.
                                  23          Moreover, to the extent that there are different versions of these games—that is,
                                  24   different versions of the Warcraft games, DotA, Dota 2, Hearthstone, and Heroes of the
                                  25   Storm—Plaintiffs need not provide examples of infringement with respect to each version.
                                  26   Although each version of Plaintiffs’ games constitutes a separate work, see 17 U.S.C.
                                  27   § 101, here Plaintiffs have sufficiently alleged that the copyrightable elements in their
                                  28   games are consistent across different versions. See, e.g., SAC ¶ 22 (“The creatures that
                                                                                     9
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                                   1   inhabit the Warcraft universe are depicted visually within the games and appear
                                   2   consistently throughout the Warcraft games.”). Therefore, in this case, what particular
                                   3   version any alleged representative example of infringement comes from is not especially
                                   4   relevant: to the extent that Plaintiffs have sufficiently alleged infringement with respect to
                                   5   one version of one of their games, they have sufficiently alleged infringement with respect
                                   6   to every version of that game. See id. at 1023–24. Because Plaintiffs sufficiently allege
                                   7   representative examples with respect to at least one version of the Warcraft games, DotA,
                                   8   Dota 2, Hearthstone, and Heroes of the Storm, they state a plausible claim of infringement
                                   9   against Soul Hunters with respect to these games.
                                  10          With respect to Diablo and Starcraft, however, Lilith’s argument has more merit.
                                  11   Lilith argues that Plaintiffs do not plausibly allege substantial similarity between Soul
                                  12   Hunters and Diablo and Starcraft. See Lilith’s MTD at 7–8. Lilith is right: although the
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                                  13   SAC plausibly alleges copyrightable elements in both Starcraft and Diablo, it contains no
                                  14   specific examples (representative or otherwise) of Soul Hunters allegedly infringing these
                                  15   copyrightable elements. See SAC ¶¶ 29, 59. The SAC indicates that Diablo and Starcraft
                                  16   are entirely different franchises from the Warcraft games; they are set in different
                                  17   universes and have different characters. Id. ¶ 29. Nothing in the SAC suggests that any of
                                  18   the representative examples of Soul Hunters infringing Plaintiffs’ other games (Warcraft,
                                  19   DotA, Dota 2, Hearthstone, Heroes of the Storm) extend to Diablo or Starcraft.
                                  20          The SAC does specifically allege that characters from Dot Arena (another Lilith
                                  21   game) infringe Diablo and Starcraft. See id. ¶ 59. But the SAC also notes that Dot Arena
                                  22   and Soul Hunters have different artwork and characters. See id. ¶ 43. Accordingly,
                                  23   plausible allegations against Dot Arena do not equate to plausible allegations against Soul
                                  24   Hunters.
                                  25          Thus, the SAC fails to state a plausible claim that Soul Hunters infringes Diablo and
                                  26   Starcraft, and Lilith’s motion is GRANTED with respect to these two games. To be clear,
                                  27   only the Diablo and Starcraft claims against Soul Hunters are dismissed; those against
                                  28   Lilith’s other games are not.
                                                                                      10
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                                               B.     uCool’s Motion to Dismiss
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                                               The uCool Defendants move to dismiss claims against Heroes Charge relating to
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                                       Starcraft, Diablo, and Heroes of the Storm. They argue that (1) “aggregating” Plaintiffs’
                                   3
                                       games is not a legally cognizable theory, (2) Heroes Charge is not substantially similar to
                                   4
                                       Diablo or Starcraft, and (3) Plaintiffs cannot plead access to Heroes of the Storm because
                                   5
                                       Blizzard released it to the public after Heroes Charge was released. These arguments fail.
                                   6
                                                      1.     “Aggregation” Theory
                                   7
                                               The uCool Defendants argue first that Plaintiffs are not allowed to “mix-and-match
                                   8
                                       elements from multiple works to manufacture substantial similarity.” uCool’s MTD at 7.
                                   9
                                       This argument mischaracterizes Plaintiffs’ allegations. Plaintiffs allege that the uCool
                                  10
                                       Defendants infringed several of Plaintiffs’ games—including Warcraft, Starcraft, and
                                  11
                                       Diablo—by copying protected elements in each of those games. See SAC ¶¶ 1, 52, 59.
                                  12
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                                       Plaintiffs are not relying on an “aggregation” theory. See id.; see also Opp. (dkt. 235) at
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                                  13
                                       9–10.
                                  14
                                                      2.     Infringement of Diablo and Starcraft
                                  15
                                               Plaintiffs clearly and specifically allege that the depictions of “War Chief” and
                                  16
                                       “Rifleman” in Heroes Charge are substantially similar to (and thus infringe) protected
                                  17
                                       expression in Diablo and Starcraft—namely, “King Leoric” from Diablo and “Terran
                                  18
                                       Marine” from Starcraft, respectively. See SAC ¶ 59.
                                  19
                                               The uCool Defendants, however, note that “War Chief” and “Rifleman” are merely
                                  20
                                       two characters out of 135 characters in Heroes Charge, and therefore, there is no
                                  21
                                       substantial similarity. See uCool’s MTD at 10, 14. It appears that the uCool Defendants
                                  22
                                       are arguing that their alleged copying is de minimis—that is, the alleged copying is so
                                  23
                                       trivial that it does not rise to the level of substantial similarity. See Newton v. Diamond,
                                  24
                                       388 F.3d 1189, 1192–93 (9th Cir. 2004); Ringgold v. Black Entm’t Television, Inc., 126
                                  25
                                       F.3d 70, 74–75 (2d Cir. 1997). But the uCool Defendants get the rule backwards. The
                                  26
                                       relevant inquiry is not whether a substantial portion of the defendant’s work was derived
                                  27
                                       from the plaintiff’s work but whether protectable material in the plaintiff’s work was
                                  28
                                                                                     11
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                                   1   substantially appropriated. See Worth v. Selchow & Righter Co., 827 F.2d 569, 570 n.1
                                   2   (9th Cir. 1987). “A taking may not be excused merely because it is insubstantial with
                                   3   respect to the infringing work.” Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S.
                                   4   539, 565 (1985) (emphasis in original). Thus, that the uCool Defendants may not have
                                   5   appropriated 133 other characters from one of Plaintiffs’ games does not mean Plaintiffs
                                   6   have failed to plausibly allege that the uCool Defendants copied protectable expression in
                                   7   Diablo and Starcraft. Moreover, because Plaintiffs are not required to plead every instance
                                   8   of infringement, their claims are not necessarily limited to “War Chief” and “Rifleman.”
                                   9   Cf. Perfect 10, 167 F. Supp. 2d at 1120 (“Requiring a statement of each and every example
                                  10   would defeat the regime established by Rule 8.”).
                                  11          The uCool Defendants also contend that “King Leoric” and “Terran Marine” are
                                  12   “generic” and therefore not copyrightable. uCool’s MTD at 12. The uCool Defendants
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                                  13   may be correct that “skeleton kings” and “space soldiers”—stock characters in the video
                                  14   game context—constitute unprotected expression under the scènes à faire doctrine. See
                                  15   Capcom, 2008 WL 4661479, at *6. But Plaintiffs allege a variety of features that are not
                                  16   “generic” in the video game context. For example, the SAC describes King Leoric as
                                  17   having “long white hair and beard, distinctive armor, a red loincloth and a spiky gold
                                  18   crown.” SAC ¶ 29. Additionally, the SAC describes Terran Marine as wearing “a
                                  19   distinctive set of giant blue space armor with huge, oversized shoulder pads, a fully-
                                  20   enclosed helmet with round tubes protruding from it, and a yellow faceplate.” Id. It also
                                  21   emphasizes Terran Marine’s “comically oversized rifles that are often at least one-half the
                                  22   size of the entire suit of armor.” Id. Finally, the SAC provides visual depictions of both
                                  23   King Leoric and Terran Marine, which highlight Plaintiffs’ particular expression of the
                                  24   idea of “skeleton kings” and “space soldiers.” Id.
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                                   8   Plaintiffs plausibly allege protectable expression in Diablo and Starcraft that “War Chief”
                                   9   and “Rifleman” infringe.
                                  10                 3.     Access to Heroes of the Storm
                                  11          The uCool Defendants contend that it is not plausible that they had access to Heroes
                                  12   of the Storm because Heroes of the Storm was not “published” until June 2015, and Heroes
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                                  13   Charge was released in August 2014. See uCool’s MTD at 15; see also SAC ¶ 45. The
                                  14   uCool Defendants attach multiple exhibits to their reply showing that Heroes of the Storm
                                  15   was “published” in June 2015, including a copy of Blizzard’s registration with the
                                  16   Copyright Office and complaints in other court proceedings. See Reply (dkt. 240) at 13–
                                  17   15 and exhibits. Plaintiffs allege that Heroes of the Storm “first was released to the public
                                  18   in March 2014.” SAC ¶ 19; see also FAC ¶ 11.
                                  19          When ruling on a motion to dismiss, a court may take judicial notice of registrations
                                  20   with the Copyright Office as well as court documents already in the public record. See
                                  21   Holder v. Holder, 305 F.3d 854, 866 (9th Cir. 2002); Vigil v. Walt Disney Co., 1995 WL
                                  22   621832, at *1–2 (N.D. Cal. Oct. 16, 1995). Whether the June 2015 publication date is true
                                  23   or not, however, is not determinative at this stage. First, proof of access is not necessary to
                                  24   show copying. See Three Boys Music Corp. v. Bolton, 212 F.3d 477, 485 (9th Cir. 2000)
                                  25   (“in the absence of any proof of access, a copyright plaintiff can still make out a case of
                                  26   infringement by showing that [the works are] ‘strikingly similar’”). Moreover, that Heroes
                                  27   of the Storm was “published” in June 2015 does not, as a practical matter, necessarily
                                  28   contradict Plaintiffs’ claim that the game was “first . . . released to the public” in March
                                                                                     13
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                                   1   2014. For example, certain members of the public may have been allowed to test the game
                                   2   before it was “published” and widely released in June 2015. In fact, in their FAC,
                                   3   Plaintiffs alleged:
                                   4                 Beginning in March 2014, Blizzard released to members of the
                                                     public the game “Heroes of the Storm,” an online multiplayer
                                   5                 game that brings together Blizzard’s best-known characters
                                                     from each of its major game franchises. Heroes of the Storm
                                   6                 was released to the public in final form in June 2015 and was
                                                     highly publicized for years before its release.
                                   7
                                       FAC ¶ 11. Because the pleadings at this stage are construed in the light most favorable to
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                                       the Plaintiffs, uCool’s argument fails. Finally, Plaintiffs’ SAC provides a number of
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                                       specific, representative examples of alleged infringement between Heroes Charge and
                                  10
                                       Heroes of the Storm. See, e.g., SAC Ex. A at 1–2, 4, 16. Plaintiffs therefore have stated a
                                  11
                                       plausible claim of copyright infringement. Cf. First Dismissal Order at 10 (holding that “a
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                                       plausible claim would require that Plaintiffs submit a representative sampling of infringed
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                                  13
                                       content”). uCool’s motion is accordingly DENIED.
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                                       IV.    CONCLUSION
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                                              For the foregoing reasons, Lilith’s motion to dismiss is GRANTED IN PART and
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                                       DENIED IN PART. Lilith’s motion is granted only with respect to allegations that Soul
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                                       Hunters infringes Diablo and Starcraft. With respect to all other allegations against Soul
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                                       Hunters, Lilith’s motion is denied without prejudice. uCool’s motion is DENIED without
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                                       prejudice.
                                  21
                                              Plaintiffs are given leave to amend their Diablo and Starcraft allegations. Any
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                                       amended complaint shall be filed by March 29, 2018. Extensions of time in which to file
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                                       motions to dismiss will not be granted except on a particularized showing of good cause.
                                  24
                                              IT IS SO ORDERED.
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                                              Dated: March 8, 2018
                                  26                                                      CHARLES R. BREYER
                                                                                          United States District Judge
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